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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUⅣ IBIA


UNITED STATES OF APIERICA
          V。                                                         Criminal No。     19¨ cr‐   00093(ECS)
                                                                     Criminal No。     18¨ cr‐   00344(EGS)

JOⅡ N VICTOR REED,
JAROⅣ IE Fo SIⅣ IP10NS,a.k.a.Bernard Byrd
          Defendants




                              DECLARATION OFJOHN CRABB JR.

    John Crabb Jr.,being duly swonl,states the following:


I.      Declarant's Background

          l.      I am currently the chicf of the Criminal Division of thc Unitcd States Attorncy's

Offlcc for thc District of Columbia(̀̀USAO'').I have been eithcr chict acting chiet or dcputy

chief of the Crilninal Division,since September 2016. As such,I supervise all crilninal lnatters

brought by the USAO in the United States District Court for the District of Columbia(̀̀diStrict

court'').I have bccn an assistant United Statcs attomey since Scptcmbcr 1995.1

11.        USAO Structure

          2.      The USA()'s Crinlinal Division handles prosccutions, in the district court,of

violations ofthe l」 nited States Code. One ofthe Crilninal E)ivision's sections,the Violent Criine


and Narcotics Trafflcking Section(̀̀VCNT''),handles most flrearlns prosecutions brought in thc

district court,including violations of 18 U.S.C.§ 922(g)(1).2 The USAO's Superior Court


t       This declaration is based on my personal knowledge, on discussions with present and former colleagues who
were involved with the matters at issue, and consultation with FBI Division Counsel.

2         *lt
           shall be unlawful for any person - (1) who has been convicted in any court of, a crime punishable by
imprisonment for a term exceeding one year" to possess a firearm. l8 U.S.C. $ 922(9)(l).
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Division prosecutes, in the District of Columbia's Superior Court ("Superior Court"), violations

of the D.C. Code. The D.C. Code also proscribes the possession of a firearm by a felon.3

III.     Modification of USAO Approach to Prosecuting Felon-in-possession Cases

         3.        In 2018, 160 homicides occurred in Washington, D.C.                  - a38oh increase       from the

prior year; and79o/o of those homicides were committed with a firearm. See MPD Annual Report,

2018, p.21.

         4.        During the summer and fall             of   2018, on several occasions, members               of the
community voiced their concems about this rise in homicides to USAO leadership. Among other

things, members of the community asked the USAO to more aggressively prosecute firearms

offenses.

         5.       In response to this rise in homicides and the community's concerns, in the latter

half of 2018, the USAO and our local and federal law enforcement partners strategized ways to

attempt to lower the homicide rate in the District                 of Columbia. The USAO leadership had

numerous discussions with the chief               of the Metropolitan Police           Department (MPD), Peter

Newsham, about more effective ways to combat violent crime and specifically the prosecution                            of

firearms cases.

         6.       Chief Newsham thought that it might deter violence if the USAO prosecuted more

firearms cases in the district         court. Of late, the USAO had brought the majority of                        such

prosecutions in the Superior Court. For example: in 20 I 7 , 22 "stand alone" $ 922(gX I ) cases

were filed in the district court and 175 "stand alone" felon-in-possession cases were filed in

Superior Court; in20l8, 45 "stand alone" $ 922(9)(1) cases were filed in the district corxt and249




3         "No person shall own or keep a firearm, or have a firearm in his or her possession or under his or her control,
within the District of Columbia, ifthe person: Has been convicted in any court of a crime punishable by imprisonment
for a term exceeding one year . . . ." D.C. Code g 22-a5B@)(1).
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"stand alone" felon-in-possession cases were filed in the Superior Court. As the top local law

enforcement officer for the District of Columbia, Chief Newsham acted as the liaison between the

D.C. government and the USAO on this issue. As a result of these discussions with Chief

Newsham, the USAO decided to prosecute more violations           of $ 922(9). This approach      was

consistent with the Justice Department's priorities for reducing violent crime.

        7.      In addition to the deterrent effect identified by Chief Newsham, a number of other

benefits arose from prosecuting more felon-in-possession cases in district court. First, for the most

part, such cases are handled by more experienced prosecutors. Additionally, charging U.S. Code

violations, enhances our ability to leverage more federal law enforcement resources. Because       of

resource constraints, MPD is unable to thoroughly investigate most felon-in-possession arrests.

Involving federal law enforcement makes it feasible to conduct more extensive investigations of

these cases, such as conducting forensic tests, searching for relevant surveillance video, and

interviewing witnesses. Such investigation makes for stronger cases and permits nonmeritorious

cases to be more   quickly dismissed.

        8.      The Federal Bureau of Investigation ("FBI"), however, cannot investigate D.C.

Code violations except for the small curtilage around the FBI's headquarters and Washington Field

Office. FBI policies and federal   statutes prohibit the FBI from investigating state crimes, unless

the FBI has specialized expertise that the local authorities do not normally possess. In which case,

FBI executive management can approve the use of FBI assets in support of a local investigation.

Nevertheless, the FBI would still need to have a predicated, federal case open before providing

assistance   in any other matter under investigation. When it becomes apparent that no federal

offense has been, is being, or will be committed, and if there is no other basis of authority for the

FBI to continue its assistance, the FBI must withdraw promptly from any state investigation. In



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other words, the FBI presumptively investigates violations of the U.S. Code, and FBI cases are

presumptively charged in district court. Accordingly, to secure FBI assistance investigating felon-

in-possession cases, the USAO needed to prosecute such maffers in district court.

        9.      As part of modifying the approach to prosecuting felon-in-possession cases, the

USAO had intended to prosecute all felon-in-possession cases that constitute a violation of                        $


922(9 in the district court. It was not, however, feasible to do so. Accordingly, it was ultimately

determined that the greatest impact would result from focusing on the MPD districts that had the

highest instances of violent crime. In 2018, MPD Districts              5,6, and 7 had the highest rates of

violent crime, in general, and of homicides, in particular. Of the 4,127 violent crimes reported

districtwide,2,3lT were in MPD Districts 5, 6, and 7,that is, over 56oh of violent crimes occurred

in these three MPD Districts. Of the 160 homicides in the district, 127 occuned in MPD Districts

5, 6, and 7;that is nearly 80% of all homicides took place in these three MPD Districts. See also,

WnsumcroN Posr Editorial, January ll,2019 ("Most of the killings are concentrated                          as long
                                                                                                       -
has been the case       in the city's poor, struggling neighborhoods; Wards 7 and 8 are the epicenter
                    -
of violence that mainly affects young black men.") Additionally, in 2018, approximately 65oh                      of
all firearms recovered in the District of Columbia were recovered in those districts: (1) the Fifth

District had261gun recoveries, (2) the Sixth District had 407 gun recoveries, and (3) the Seventh

District had 595 gun recoveries.a Thus, the USAO determined to modify its charging policy with

respect to felon-in-possession cases arising in the Fifth, Sixth, and Seventh Districts. Although

the USAO had planned to phase-in other police districts over time, as of the submission of this

declaration, the modified charging policy still only covers firearm arrests made in the Fifth, Sixth,

and Seventh Districts. We do, however, on an ad hoc basis continue to prosecute violations                   of   $




       The crime statistics cited in this paragraph were derived from publically available MPD data.

                                                       4
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922(9 that occur in the other police districts, and we continue to evaluate the most effective ways

to combat violent crime, including an assessment of which felon-in-possession cases should be

prosecuted in the district court.

        10.     Since modiffing its approach to prosecuting felon-in-possession cases, the USAO

has regularly reassessed   it.   In December 2019, approximately ten months after modifying the

approach, then-U.S. Attorney Liu gathered data to determine what,        if any, changes could   be made

to better effect the Office's public-safety goals. Similarly, in February 2020, then-U.S. Attorney

Shea considered changes      to the modified charging approach. Additionally, in June 2020,             a

Working Group of USAO-DC Black AUSAs asked the current Acting U.S. Attorney to end or

amend the felon-in-possession initiative, and he is considering this request. In sum, the USAO's

charging policy for felon-in-possession cases       will   continue   to be evaluated and changed as

appropriate.

ry.    Modified Charging Policy

        11.    On February 1,2019, the USAO instituted the following policy:           if   an individual

who had been convicted of a felony was found to be in possession of a firearm in Police District

5, 6, or 7 and he had not committed any additional offenses (a so-called "stand alone crime"), the

case would be charged in district court as a $ 922(9) offense. (Such a case could, however,          still

be brought in the Superior Court,     if   the Superior Court Division determined that that was an

appropriate action. And this has been done.) It was a prospective modification. In other words,

existing cases that may have met these criteria were not transferred to district court from Superior

Court. To be sure, other violations of $ 922(9) were prosecuted both before and after                the

modification of the USAO's charging policy, but they were not a product of the change in charging

policy. Charging decisions in those cases were         made based on an evaluation of the specific



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circumstances of each case. The modified charging policy was intended to supplement                              -   not

replace   - pre-existing practices regarding       the prosecution of violations of $ 922(9).

v.        Implementation of the Modified Charging Policy

          12.          To implement the modified charging policy, a number of logistical issues had to be

resolved. VCNT had to increase its attorney and support staff. Additionally, VCNT had to develop

intake protocols to implement the modified charging policy, while meeting court deadlines for

presenting complaints and for arraignments. Once these tasks were completed, the modified

charging policy took effect on February 1, 2019.s As of that date, VCNT prosecutors began

carefully reviewing any arrest of a felon, who possessed a firearm, that occurred in the Fifth, Sixth,

or Seventh District and the arrest involved only the possession of a firearm                     - a so-called "stand
alone" gun case. Among other things, the prosecutors carefully review relevant body worn camera

footage and interview law enforcement and other witnesses. The review focuses on identifuing

any search and seizure issues, proof issues, and potential credibility issues. If the matter constitutes

a   qualifuing offense, these arrests are either charged            as   violations of $ 922(9) or generally declined.

This rigorous process has resulted in the declination of almost half the arrests presented: Between

February     l,      2019 and February 1, 2020, VCNT AUSAs reviewed 253 arrests for potential                         $

922(9)(1) charges and sought a complaint in only 129 of those arrests.

          13.          During the first eleven months following the modification of our firearms charging

policy (from February          1   to December 31, 2019), 105 matters reflecting a "stand alone" violation

of   $ 922(9)(   1   ) were charged in district court   -   1   00 of which were brought pursuant to the modified

charging policy. During the same time period, 134 "stand alone" violations of D.C. Code $ 22-

a503(a)(l) were brought in the Superior Court.


5       Prior to this start date, the USAO office met with the District Court judges and representatives of the Federal
Public Defenders Service to outline the parameters of the policy.
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        14.       FBI agents routinely accompany MPD's Gun Recovery Unit, and a FBI agent is

assigned    to nearly every felon-in-possession         case that arises from the modif,red policy.

Specifically, the FBI has been directly involved            in the investigation of over 100 felon-in-
possession cases brought since February         l, 2019. This is very beneficial because an MPD
detective   is   usually not assigned    to   investigate   a   felon-in-possession case, so follow-up

investigation is difficult to accomplish. An FBI agent was assigned to Reed's case. Additionally,

the Bureau of Alcohol Tobacco, Firearms, and Explosives (ATF) detailed an attorney to VCNT to

assist with the prosecution of $ 922(9) violations.

VI.    Non-modified-charging-policy Cases

        15.       Simmons's case predates the modified charging policy. On Thursday, November

15,2018, Simmons, who had previously been convicted of a felony, was arrested by MPD, while

in possession of a firearm. On November 16, 2018, the USAO charged Simmons with violating

D.C. Code 5 22-4503(aXl), and he was arraigned in Superior Court. The government's request

for a 3-day hold was granted and the matter was scheduled for a detention/preliminary hearing on

November 19, 2018. Also, on November 16, 2018, Chief Newsham sent a letter to the United

States Attorney, in which he stated: "We have long agreed that to reduce gun violence, we must

deal more effectively with the people most likely to commit crimes with guns. An individual like

Mr. [Simmons], who has already been convicted of multiple felony offenses and then chooses to

possess a firearm   illegally shows a clear disregard for the law and poses a higher risk for District

residents." (Newsham      llll6llS   Letter Attached) In light of Chief Newsham's letter, the then-

Principal Assistant United States Attorney directed VCNT to review Simmons's case for possible

prosecution. ATF also referred the matter to VCNT for prosecution. In light of Simmons's

extensive criminal history, to include a conviction for an assault involving a firearm, on the



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aftemoon of November 16, VCNT decided to charge Simmons with violating $ 922(9). The

district court grand juries were not sitting the week of November 19, 2018. Accordingly, on

Monday, November 19, a VCNT prosecutor presented Simmons's case to a Superior Court grand

jrry    and sought an indictment charging Simmons with violating $ 922(9). The grand                    jury returned

that indictment the same day.6 Thereafter, on January 25,2019, at the government's request the

Superior Court dismissed Simmons's pending D.C. Code complaint. Inasmuch as this case arose

prior to February 1,,2019, it was not brought pursuant to our modified charging policy.

              16.      Likewise, the Fuentez (incident date            1ll2tll7);   Wilkins (incident date l0/31/18);

Mayes (incident date l2l30ll8); Jones (incident date 12130118); Bellamy (incident date 12131/18);

and    Pitts (incident date       1/1   8/19) matters all occurred before February 1,2019.7 Accordingly, they

too were not a product of our modified charging policy. [nstead, each of these cases was

individually evaluated to determine if it should be brought in district court.



              I declare under penalty of perjury, on July 3,2020, that the foregoing information is true

and correct to the best of my information and belief.




6             Th" Superior Court grand jury returned the indictment pursuant to its authority under D.C. Code   $
I9I   6(a).

7             Th.se cases are cited in Reed's brief at pp. 54-55   & rn.46-47.
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                            GOVERNMENT OF THE DISTRICT OF COLUMBIA
                               METROPOLITAN POLICE DEPARTMENT



November 16, 2018

Jessie K. Liu
United States Attorney
For the District of Columbia
555 4th Street, NW
Washington, DC 20530

Dear United States Attorney Liu:

I am writing to you concerning the recent arrest of Bernard Franklin Byrd (AKA Jarome
Franklin Simmons) on November 15, 2018 (CCN 18-194-571). Mr. Byrd, a previously
convicted felon, was subsequently charged with Felon in Possession as he was in possession of a
Glock 23 .40 caliber semi-automatic pistol at the time of his arrest. Additionally, the firearm’s
magazine contained 12 rounds of ammunition, in violation of D.C. Code § 7-2506.01.b. Mr.
Byrd was also charged with resisting arrest after engaging in a struggle with the arresting officers
in an attempt to flee the scene to avoid apprehension. His most recent arrest, along with his long
history of repeat criminal behavior, clearly indicates that he continues to pose a significant
danger to the safety and security of those in the community.

Mr. Byrd possesses a lengthy criminal history, to include three previous felony convictions. In
July 2006, he pleaded guilty to Possession with the Intent to Distribute a Controlled Substance
(Case # 2006 CF2 013389). In August 2005, he pleaded guilty to UCSA Distribution of Cocaine
(Case # 2005 FEL 004374). In July 2007, Mr. Byrd pleaded guilty to Felony Contempt (Case #
2007 CF2 017716) after violating a Stay Away Order issued in Case # 2006 CF2 013389. In
2007, multiple bench warrants were issued for Mr. Byrd for Failure to Appear in D.C. Superior
Court Case # 2007 CF2 017716 and 2007 CF2 017710. Additionally, in 2017, Mr. Byrd was
convicted in Montgomery County Circuit Court of Second Degree Assault and Gun on Person in
Case # 114447C. Mr. Byrd is currently under maximum supervision by the Court Services
Offender Supervision Agency until May 26, 2019. Based on his criminal history, it is clear that
Mr. Byrd poses a substantial danger to the community and should be detained pending trial.

We have long agreed that to reduce gun violence, we must deal more effectively with the people
most likely to commit crimes with guns. An individual like Mr. Byrd, who has already been
convicted of multiple felony offenses and then chooses to possess a firearm illegally shows a
clear disregard for the law and poses a higher risk for District residents. Please let me know
should you or your staff have any questions or require any additional information as your office
seeks pretrial detention in this case.

Sincerely,



Peter Newsham
Chief of Police

                  300 Indiana Avenue N.W., Room 5080, Washington, D.C. 20001
